            Case 1:25-cv-01858-HG                    Document 6                   Filed 04/14/25         Page 1 of 1 PageID #: 31
2 AO 121 (6/90)
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        G                  G APPEAL                                   United States District Court-Eastern District of New York
DOCKET NO.                      DATE FILED                            225 Cadman Plaza East
      1:25-cv-01858                        4/3/2025                   Brooklyn, NY 11201
PLAINTIFF                                                                         DEFENDANT


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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                      DATE RENDERED

            G Order        G Judgment                                     G Yes        G No

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